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uNlTEo sTATEs or= AMERch W 1020 tHPtlB
Plaintiff
vs.
cR. No. 04-20471-0
TAMMY cRAlG
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FV|NG PER|OD OF EXCLUDABLE DELA¥
AND SETT|NG

 

This cause came on for a report date on Ju|y 21, 2005. At that timel counsel for the
defendant requested a continuance of the August 1, 2005 trial date and requested a
change of plea hearing date.

The Court granted the request and reset the trial date to September 6, 2005 with
a change of plea hearing date of Fric_j_av. September 2l 2005l at 9:00 a.m., in
Courtroom 3l 9th Floor of the Federa| Bui|ding, l\/lernphisl TN.

The period from August12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 51_5 day Of Ju|y, 2005.

§§N|CE B. §ONALD

UN|TE STATES D|STR|CT JUDGE

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UNITED SATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

